                      EXHIBIT A




Case 3:18-cv-00749 Document 155-1 Filed 06/05/20 Page 1 of 3 PageID #: 2219
From:                                 Hayley Hanna Baker <hbaker@millerlegalpartners.com>
Sent:                                 Friday, May 29, 2020 9:11 PM
To:                                   Karnell, Ashleigh D.; Mills, Paige
Cc:                                   Sam Miller; Sara R. Ellis; McClanahan, Teresa
Subject:                              FW: Global v. Anthem - Supplemental Production


Ashleigh and Paige,

Pursuant to Local Rule 39.01(e), here is a link to Plaintiffs’ supplemental production:
https://bahoumillercom‐
my.sharepoint.com/:f:/g/personal/files_millerlegalpartners_com/EpxPOszaZY5GgFupj0FZ7GkBblHohaXrCJkDrLLJ3gJ8_Q
?e=34Jg7L

The original attached folder got caught up in your mail system. Please let me know if you have any trouble accessing the
documents.

Thanks,
Hayley Hanna Baker




Email: hbaker@millerlegalpartners.com
Main: 615.988.9590
Direct: 615.988.9017
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appropriate.



From: Hayley Hanna Baker
Sent: Friday, May 29, 2020 8:58 PM
To: Ashleigh D. Karnell (Other) <ashleigh.karnell@bassberry.com>; Paige Mills (Other) <pmills@bassberry.com>
Cc: Sara R. Ellis <sellis@millerlegalpartners.com>; Teresa McClanahan (Other) <tmcclanahan@bassberry.com>
Subject: Global v. Anthem ‐ Supplemental Production

Counsel,

Attached is Plaintiffs’ supplemental production pursuant to Local Rule 39.01(e).

Sincerely,
Hayley Hanna Baker

                                                                  1
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Email: hbaker@millerlegalpartners.com
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